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            IN THE UNITED STATES DISTRICT COURT FOR THE
                    SOUTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

CHRISTOPHER L. ENGLISH,              :

            Plaintiff,               :

v.                                   :   CIVIL ACTION 05-00251-WS-B

JERRY FERRELL, et al.,               :

            Defendants.              :

                       REPORT AND RECOMMENDATION

     Plaintiff, an Alabama prison inmate proceeding pro se,
filed a complaint under 42 U.S.C. § 1983 on April 27, 2005

(Doc. 1). This action has been referred to the undersigned for

screening pursuant to 28 U.S.C. § 1915(e)(2)(B), and is now

before the Court due to Plaintiff's failure to prosecute and

to obey an Order of the Court.

     On October 14, 2005, the Court ordered Plaintiff to file

a copy of his disciplinary report on or before November 4,

2005, so as to assist the Court in screening Plaintiff’s

complaint (Doc. 4).       Plaintiff was cautioned that his failure

to comply with the Court's Order within the prescribed time

would result in the dismissal of his action without prejudice

of this action.      Plaintiff has not responded to the Court's

October 14, 2005 Order, nor has he sought an extension of

time.   Moreover, there is nothing before the Court which

suggests that Plaintiff did not receive a copy of the Court's
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October 14, 2005 Order.

    Due to Plaintiff's failure to comply with the Court's

Order and to prosecute this action, and upon consideration of

other available alternatives, it is recommended that this

action be dismissed without prejudice pursuant to Rule 41(b)

of the Federal Rules of Civil Procedure for failure to

prosecute and to obey the Court's order, as no other lesser

sanction will suffice.     Link v. Wabash R. R., 370 U.S. 626,

630, 82 S.Ct. 1386, 1388-89, 8 L.Ed.2d 734, 738 (1962)

(interpreting Rule 41(b) not to restrict the court's inherent

authority to dismiss sua sponte an action for lack of

prosecution); World Thrust Films, Inc. v. International Family

Entertainment, Inc., 41 F.3d 1454, 1456-57 (11th Cir. 1995);

Mingo v. Sugar Cane Growers Co-op, 864 F.2d 101, 102 (11th

Cir. 1989); Goforth v. Owens, 766 F.2d 1533, 1535 (11th Cir.

1985); Jones v. Graham, 709 F.2d 1457, 1458 (11th Cir. 1983).

Accord Chambers v. NASCO, Inc., 501 U.S. 32, 111 S.Ct. 2123,

115 L.Ed.2d 27 (1991) (ruling that federal courts' inherent

power to manage their own proceedings authorized the

imposition of attorney's fees and related expenses as a

sanction); Malautea v. Suzuki Motor Co., 987 F.2d 1536, 1545-

46 (11th Cir.)(finding that the court’s inherent power to

manage actions before it permitted the imposition of fines),


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cert. denied, 510 U.S. 863, 114 S.Ct. 181, 126 L.Ed.2d 140

(1993).

    The attached sheet contains important information

regarding objections to this Report and Recommendation.

    DONE this 21st day of November, 2005.



                                  /S/ SONJA F. BIVINS
                                 UNITED STATES MAGISTRATE JUDGE




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     MAGISTRATE JUDGE’S EXPLANATION OF PROCEDURAL RIGHTS
        AND RESPONSIBILITIES FOLLOWING RECOMMENDATION
         AND FINDINGS CONCERNING NEED FOR TRANSCRIPT

1.   Objection. Any party who objects to this recommendation
or anything in it must, within ten days of the date of service
of this document, file specific written objections with the
clerk of court. Failure to do so will bar a de novo
determination by the district judge of anything in the
recommendation and will bar an attack, on appeal, of the
factual findings of the magistrate judge. See 28 U.S.C. §
636(b)(1)©); Lewis v. Smith, 855 F.2d 736, 738 (11th Cir.
1988). The procedure for challenging the findings and
recommendations of the magistrate judge is set out in more
detail in SD ALA LR 72.4 (June 1, 1997), which provides, in
part, that:

A party may object to a recommendation entered by a magistrate
judge in a dispositive matter, that is, a matter excepted by
28 U.S.C. § 636(b)(1)(A), by filing a "Statement of Objection
to Magistrate Judge’s Recommendation" within ten days after
being served with a copy of the recommendation, unless a
different time is established by order. The statement of
objection shall specify those portions of the recommendation
to which objection is made and the basis for the objection.
The objecting party shall submit to the district judge, at the
time of filing the objection, a brief setting forth the
party’s arguments that the magistrate judge’s recommendation
should be reviewed de novo and a different disposition made.
It is insufficient to submit only a copy of the original brief
submitted to the magistrate judge, although a copy of the
original brief may be submitted or referred to and
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incorporated into the brief in support of the objection.
Failure to submit a brief in support of the objection may be
deemed an abandonment of the objection.

     A magistrate judge’s recommendation cannot be appealed to
a Court of Appeals; only the district judge’s order or
judgment can be appealed.

2.   Opposing party’s response to the objection. Any opposing
party may submit a brief opposing the objection within ten
(10) days of being served with a copy of the statement of
objection. Fed. R. Civ. P. 72; SD ALA LR 72.4(b).

3.   Transcript (applicable where proceedings tape recorded).
Pursuant to 28 U.S.C. § 1915 and Fed. R. Civ. P. 72(b), the
magistrate judge finds that the tapes and original records in
this action are adequate for purposes of review. Any party
planning to object to this recommendation, but unable to pay
the fee for a transcript, is advised that a judicial
determination that transcription is necessary is required
before the United States will pay the cost of the transcript.

                                 /S/ Sonja F. Bivins
                                 UNITED STATES MAGISTRATE JUDGE
